Case 2:92-cv-02062-.]PI\/|-tmp Document 2000 Filed 05/31/05 Page 1 of 9 Page|D 9654

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IN THE UNITED sTATEs DISTRICT coURT GSH*T-`Fui PM 311
FOR THE wEsTERN DISTRICT OF TENNESSEE _

wEsTERN DIVISION CL"§;§;' his ---b{§(?fio

W n T' :-»4+;:»3,§$4?:

 

U'NITED S'I`A'I'ES OF AMERICA,
Plaintiff,

V. NO. 92-2062-D/A

STATE OF TENNESSEE, et al.,
Defendants,

PEOPLE FIRST OF TEN'NESSEE, and

PARENT -GUARDIAN AS SOCIATION OF
ARL INGTON DEVELOPMENTAL CENTER ,

-_/`_/~_/V-_¢\_/~._/~_.J-_¢VVV-._¢~._/v

Intervenors.

 

ORDER

 

On March ll, 2005, the Monitor, Dr. Nancy K. Ray, submitted an
invoice for fees and expenses incurred in February 2005. According
to this invoice, the Monitor incurred fees and expenses in the
amount of $67,423.18 in February 2005. This invoice is attached
hereto as Appendix l.

Whereas the Court has not received any comments or objections
from Defendant, Defendant State of Tennessee is hereby ORDERED to
pay the amount set out in this invoice into the registry of the
Court. All funds received by the Clerk of Court are directed to be
deposited into an interest-bearing account and shall be used to
reimburse the Monitor for her expenses and fees up to and including

the total sum of the money deposited by Defendant State of

This document entered on the docket sheet in com liance
with Ru!e 58 and/or 79(a} FRCP on __Cg__£a__og' 0

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Tennessee. Any money not spent by the Monitor shall be credited to

Defendant.

IT Is so ORDERED this 3/ day of May, 2005.

 

UN 'I`ED STATES DISTRICT JUDGE

 

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ease 2:92-cv-02062-JPl\/l-tmp DM$%; eO§j§nnee]¢§;¢§j§c}e/QB PaoeSOfQ PaQ€lD 9656

 

 

NKR 8c Associates, InC.
318 Delaware Avenue
Delmar, NY 1205-4
Phone (518) 478-0982 Fax (518) 478-0986

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES OF Al\/IERICA.
Plaintit`f1

V.

STATE OF TENNESSEE. ET AL.. NO. 912-2062 l\/ll / A
Defendants.

lNVOlCE FOR FEBRUARY 2005

Dr. Nancy K. Ray hereby represents to the Court that the following monies are payable to
her for her duties as the l\/Ionitor during the month of Febrnary 2005.

Payable to
NKR & Associates, Inc.

AMOUNT OF REIMBURSEMENT REQUESTED 567,423.18

SUBl'_\/HTTED BY;

LA/d/n/av{i//g“/d/

Nancy K. Ray` Ed.D. Date: March l i. 2005
President

 

NAN . E
Case 2:92-cv-02062-.]P|\/|-tmp D%M§WOHEOULNQ§%,QB Page 4 of 9

NKR & Associates, In<:.
518 Delaware Avenue
Delmar, NY 12054
Ph()n€ (518) 478-0982 FaX (518) 478-0986

March 11, 2005
INVOICE FOR THE l\/IONTH OF FEBRUARY 2005

PROFESSIONAL STAFF HOURS
Ray, N. 137 hours @ $125
Bulgaro, P. 23 hours @ $150
Coienian, V. 136 hours @ 570
Truesdale, L. 148 hours @ 550

SUPPORT STAFF HOURS
Clawar, K. 60 hours @ 550
Dowd, C. 152 hours @ 550
Morris, [<. 149.50 hours @ $50
Wiiliams. S. 100.50 hours @ 540

STAFF TRAVEL
Coleman (February 2005)
Truesdale (2/ 7-10/05)
'l`ruesdale (2/ 22-24/ 05)

CoNsuLTANT HouRs
Haw@s (1/11_2/15/05)

I’I'IONE
Verizon Wireless and AT&T

POSTAGE
FedEx and US Postal Service

PRINTINC
Camelot Legal Copy and lnhouse Copy

TotaI

Page|D 9657

17,125.00
3,450.00
9,520.00
7,400.00

3,000.00
7,600.00
7,475.00
4,020.00

539.13
896.98
710.35

4,200.00

234.81

158.55

l,093.36

567,423.18

   

UNITED S'T'TAES DISTRIC COURT - WESTENR ISRICT oF TNNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 2000 in
case 2:92-CV-02062 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

Kimbrough Brown l\/lullins
WILLIAMS PROCHASKA P.C.
50 Front St

Ste 1075

l\/lemphis7 TN 38103

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Steven W. Likens

HUSCH & EPPENBERGER, LLC- l\/lemphis
200 Jefferson Ave.

Ste. 1450

l\/lemphis7 TN 38103

Dianne Stamey Dycus

ATTORNEY GENERAL AND REPORTER
426 Fifth Avenue North

2nd Floor

Nashville, TN 37243

Frank J. Laski

PUBLIC INTEREST LAW CENTER OF PH[LADELPHIA
125 S. 9th Street

Ste. 700

Philadelphia, PA 19107

Darcey Kathleen Donehey
950 Pennsylvania Ave. N.W.
Washington, DC 20530

lack W. Derryberry

WARD DERRYBERRY & THOl\/[PSON
404 J ames Robertson Parkway

Ste. 1720

Nashville, TN 37219

Case 2:92-cv-02062-.]P|\/|-tmp Document 2000 Filed 05/31/05 Page 6 of 9 Page|D 9659

EdWard G. Connette
LESESNE & CONNETTE
1001 Elizabeth Avenue
Ste. 1-D

Charlotte, NC 28204

Jonathan P. Lakey
PIETRANGELO COOK
64 1 0 Poplar

Ste. 190

l\/lemphis7 TN 38119

Nicole Porter

U.S. DEPARTl\/[ENT OF .TUSTICE
950 Pennsylvania Ave.7 N.W.
Special litigation Section
Washington, DC 20530

Judith A. Gran

PUBLIC INTEREST LAW CENTER OF PH[LADELPHIA
125 S. 9th Street

Ste. 700

Philadelphia, PA 19107

Leo l\/laurice Bearman

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

R. Jonas Geissler

U.S. DEPARTl\/[ENT OF .TUSTICE
950 Pennsylvania Ave.7 NW

Special litigation Section
Washington, DC 20530

Buffey Klein

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

l\/lemphis7 TN 38103

Nancy K. Ray

NKR & Associates, lnc
318 Delaware Ave.7 Ste. 2
Delmar, NY 12054

Case 2:92-cv-02062-.]P|\/|-tmp Document 2000 Filed 05/31/05 Page 7 of 9 Page|D 9660

William F. Sherman

LAW OFFICES OF WlLLlAl\/l F. SHERMAN
504 Pyramid Place

Little Rock7 AR 72201

Financial Unit
FlNANClAL UNlT
167 N. l\/lain St.
Room 242
l\/lemphis7 TN 38103

Earle J. SchWarZ
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

S. Russell Headrick

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Todd Schneider
U.S. DEPARTl\/IENT OF .TUSTICE
950 Pennsylvania Ave.7 N.W.

Special litigation Section
Washington, DC 20530

Thomas R. PreWitt

ARMS TRONG ALLEN, PLLC
80 l\/lonroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

Honorable Bernice Donald
US DlSTRlCT COURT

Case 2:92-cv-02062-.]P|\/|-tmp Document 2000 Filed 05/31/05 Page 8 of 9 Page|D 9661

EdWard G. Connette
LESESNE & CONNETTE
1001 Elizabeth Avenue
Ste. 1-D

Charlotte, NC 28204

Jonathan P. Lakey
PlETRANGELO COOK
64 1 0 Poplar

Ste. 190

l\/lemphis7 TN 38119

Nicole Porter

U.S. DEPARTl\/IENT OF .TUSTICE
950 Pennsylvania Ave.7 N.W.
Special litigation Section
Washington, DC 20530

Judith A. Gran

PUBLIC lNTEREST LAW CENTER OF PHILADELPHIA
125 S. 9th Street

Ste. 700

Philadelphia, PA 19107

Leo l\/laurice Bearman

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

R. Jonas Geissler

U.S. DEPARTl\/IENT OF .TUSTICE
950 Pennsylvania Ave.7 NW

Special litigation Section
Washington, DC 20530

Buffey Klein

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

l\/lemphis7 TN 38103

Nancy K. Ray

NKR & Associates, lnc
318 Delaware Ave.7 Ste. 2
Delmar, NY 12054

Case 2:92-cv-02062-.]P|\/|-tmp Document 2000 Filed 05/31/05 Page 9 of 9 Page|D 9662

William F. Sherman

LAW OFFICES OF WlLLlAl\/l F. SHERMAN
504 Pyramid Place

Little Rock7 AR 72201

Financial Unit
FlNANClAL UNlT
167 N. l\/lain St.
Room 242
l\/lemphis7 TN 38103

Earle J. SchWarZ
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

S. Russell Headrick

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Todd Schneider
U.S. DEPARTl\/IENT OF .TUSTICE
950 Pennsylvania Ave.7 N.W.

Special litigation Section
Washington, DC 20530

Thomas R. PreWitt

ARMS TRONG ALLEN, PLLC
80 l\/lonroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

Honorable Bernice Donald
US DlSTRlCT COURT

